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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SONRAI SYSTEMS, LLC,                                )
                                                     )
               Plaintiff,                            )    Case No. 1:21-CV-02575
                                                     )
         v.                                          )    Honorable John Robert Blakey
                                                     )
 WASTE CONNECTIONS OF CANADA, INC.,                  )
                                                     )
               Defendant.                            )

                               NOTICE OF PRESENTMENT

        PLEASE TAKE NOTICE that on July 10, 2024, at 11:00 a.m., or as soon thereafter as

counsel may be heard, counsel shall appear before the Honorable Judge John Robert Blakey, or

any judge sitting in his stead, in Courtroom 1203 of the United States District Court, 219 South

Dearborn Street, Chicago, Illinois, and shall present Plaintiff’s Motion To Compel, a copy of

which has already been served on you.

Dated: July 3, 2024                                      Respectfully submitted,

                                                         /s/ J. Scott Humphrey
                                                         J. Scott Humphrey
                                                         Katie Burnett
                                                         BENESCH, FRIEDLANDER, COPLAN &
                                                         ARONOFF LLP
                                                         71 S. Wacker Dr., Suite 1600
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                                                         Attorney for Plaintiff Sonrai Systems, LLC




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                                   CERTIFICATE OF SERVICE

          I certify that, on July 3, 2024, a true and correct copy of the foregoing document was served

electronically through the Northern District of Illinois CM/ECF electronic filing on all counsel of

record.

                                                        /s/ J. Scott Humphrey

                                                        Attorney for Plaintiff Sonrai Systems, LLC




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